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                              UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                     Lynchburg Division

 KEVIN FORTIER, individually on behalf of
 himself, and on behalf of all others similarly
 situated, et al.,

                                       Plaintiffs,
 v.                                                        Civil Action No. 6:23-cv-69


 LIBERTY UNIVERSITY, INC.,

                                       Defendant.




                                         CONSENT ORDER


         Plaintiff Kevin Fortier and Defendant Liberty University, Inc. (collectively the “Parties”),

  by their respective counsel, hereby consent to the entry of this order. Having reviewed the Joint

  Motion in Support of Settlement Approval (the “Motion”), and the Settlement Agreement and

  Release of Claims (the “Agreement”), and for the reasons stated in the Parties’ submissions, the

  Court GRANTS the Motion and approves the Parties’ settlement as a fair and reasonable resolution

  of a bona fide dispute over Fair Labor Standards Act (“FLSA”) claims as required by Lynn’s Food

  Stores, Inc. v. United States, 679 F.2d 1350 (11th Cir. 1982).

         Accordingly, it is hereby ORDERED that the Agreement reached by the Parties is approved

  and shall take effect. It is further ORDERED that this action is dismissed with prejudice. The clerk

  is directed to close this case. This Court retains jurisdiction to enforce the terms of the settlement

  pursuant to Kokkonen v. Guardian Life Insurance Co. of America, 511 U.S. 375 (1994).
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         SO ORDERED this ____ day of _________________, 2024.




                                                       United States District Judge



  We Ask for this:

   By:_/s/________________              By: /s/_____________
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